                                     UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF OREGON

In re
                                                 )   Case No. 317-31966-DWH13
EDWARD J DUFFY                                   )
                                                 )   Confirmation hearing date: Jul 24, 2017
                                                 )   SUPPLEMENTAL
                                                 )   TRUSTEE’S OBJECTION TO
                                                 )   CONFIRMATION AND MOTION
                               Debtor(s).        )   TO DISMISS

Wayne Godare, the Standing Chapter 13 Trustee Objects to Confirmation of the above case for the reason(s) set out
below:
__X__a. Plan is not feasible: The Plan is not feasible to pay the proof of claim filed by the Internal Revenue Service
priority in the amount of $770,784.


__X__b. Case/Plan is not proposed in good faith or is forbidden by law: In light of the recently filed proof of claim by
the Internal Revenue Service the Debtor appears to be above the unsecured debt limit. Please provide the Trustee
an explanation as to why this case was filed with no tax debt listed, and why the filing was in good faith.


_____c. Plan does not commit all of debtor’s excess projected disposable income pursuant to
        11 U.S.C. §1325(b)(1)(B) for the applicable commitment period:

_____d. Plan does not meet the best interest test of 11 U.S.C. §1325(a)(4):

_____e. Filing/documentation is deficient:

_____f. Other:

If within 7 days prior to the scheduled confirmation hearing, debtor fails to take all necessary steps to satisfy each
objection marked above, the Trustee may, in his discretion, urge the court for an order dismissing the case without further
notice.

I certify that on June 30, 2017, copies of the above Objection and Motion were served on the debtor(s) by first class mail
and any debtor(s) attorney by ECF.

DATED: June 30, 2017

                                                                  /s/ Wayne Godare, Trustee
NICHOLAS J HENDERSON
(mn)




                               Case 17-31966-dwh13            Doc 22      Filed 06/30/17
